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                                                                                    Page 1 of 6
           Clare                   Gladwin
                                                  32nd State Senate District
                                                  2001 Redistricting Plan
                                                         Buena Vista Charter Township
                                                         highlighted in Saginaw County
                                                             Bay

                                    Midland
          Isabella




                                                                                             Tuscola
                                                                                                    ¹
                                                             Saginaw

                       Gratiot
Montcalm




                                                                                    Genesee


                                                   Shiawassee
  Ionia                Clinton




                                                                                                  Oakland

                                       Ingham                          Livingston
            Eaton


                                                         0    3    6       12       18        24
                                                                                                Miles
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                                                                               of 6 Exhibit G
                                                                                    Page 2 of 6
           Clare                   Gladwin
                                                  32nd State Senate District
                                                  2011 Redistricting Plan
                                                         Buena Vista Charter Township
                                                         highlighted in Saginaw County
                                                             Bay

                                    Midland
          Isabella




                                                                                             Tuscola
                                                                                                    ¹
                                                             Saginaw

                       Gratiot
Montcalm




                                                                                    Genesee


                                                   Shiawassee
  Ionia                Clinton




                                                                                                  Oakland

                                       Ingham                          Livingston
            Eaton


                                                         0    3    6       12       18        24
                                                                                                Miles
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                         Newaygo                 24th State Senate District
          Muskegon                               2001 Redistricting Plan
                                                             Clyde Township highlighted
                                                                 in Allegan County



                                     Kent




                                                                                                       ¹
              Ottawa                                            Ionia                      Clinton




                                                 Barry                         Eaton                 Ingham
                     Allegan




             Van Buren             Kalamazoo                         Calhoun                   Jackson




Berrien


               Cass                 St. Joseph                      Branch
                                                                                           Hillsdale




                                                         0    4.5     9        18         27           36
                                                                                                         Miles
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                         Newaygo                 26th State Senate District
          Muskegon                               2011 Redistricting Plan
                                                             Clyde Township highlighted
                                                                 in Allegan County



                                     Kent




                                                                                                       ¹
              Ottawa                                            Ionia                      Clinton




                                                 Barry                         Eaton                 Ingham
                     Allegan




             Van Buren             Kalamazoo                         Calhoun                   Jackson




Berrien


               Cass                 St. Joseph                      Branch
                                                                                           Hillsdale




                                                         0    4.5     9        18         27           36
                                                                                                         Miles
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2011 Redistricting Plan
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                    2001 Redistricting Plan
